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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                       CASE NO.     18-08211-MATTHEWMAN

  UNITED STATES OF AMERICA,

              Plaintiff,

  vs.

  JOHN JOSEPH O’GRADY,

              Defendant.
  ______________________________:

                 NOTICE OF REQUEST FOR DISCLOSURES OF
                      EXPERT WITNESS SUMMARIES


        The defendant, through undersigned counsel, files this notice of request for

  disclosures of expert witness summaries pursuant to Fed. R. Crim. P. 16(a)(1)(G)

  and paragraph N of the Standing Discovery Order. The defendant requests

  disclosure of expert testimony the government intends to introduce at trial during

  its case-in-chief. As to each potential expert witness, the government should

  disclose the name of the expert witness, the witness’ qualifications, present

  employment, a summary of the witness’ opinion, and the bases and reasons for

  the opinion. See, e.g., United States v. Ortega, 150 F.3d 937, 943 (8th Cir. 1998)




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  (agent’s testimony, involving specialized knowledge of drug-related activities and

  paraphernalia, was expert opinion subject to disclosure).


                                       Respectfully submitted,

                                       MICHAEL CARUSO
                                       Federal Public Defender

                                       s/ Peter Birch
                                       Peter Birch
                                       Assistant Federal Public Defender
                                       Attorney for the Defendant
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                              CERTIFICATE OF SERVICE


        I HEREBY certify that on May 10, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.           I also certify that the

  foregoing document is being served this day on all counsel of record via transmission

  of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.


                                         s/ Peter Birch
                                         Peter Birch




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